Case 3:19-cv-00094-MMH-JBT Document 13 Filed 04/16/19 Page 1 of 2 PageID 42




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DISTRICT

LORETTA COBLENTZ,

   Plaintiff,                                     CASE NO.: 3:19-CV-00094-MMH-JBT

-vs-

NAVIENT SOLUTIONS, LLC,

   Defendant.
                                     /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COME NOW the Plaintiff, Loretta Coblentz, and the Defendant, Navient Solutions, LLC,

and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each

claim and count therein asserted by Plaintiff against the Defendant in the above-styled action,

with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

       Respectfully submitted this 16th day of April, 2019.



/s/ Frank H. Kerney, III, Esquire                 /s/ Ashley Wydro, Esquire
Frank H. Kerney, III, Esquire                     Ashley Wydro, Esquire
Florida Bar #: 0088672                            Florida Bar #: 0106605
Morgan & Morgan Tampa, P.A.                       Dayle M. Van Hoose, Esquire
One Tampa City Center                             Florida Bar #: 016277
201 N. Franklin St., Suite 700                    SESSIONS, FISHMAN, NATHAN &
Tampa, FL 33602                                   ISRAEL, LLC
Telephone: (813) 223-5505                         3350 Buschwood Park Dr., Suite 195
Fax: (813) 223-5402                               Tampa, FL 33618
fkerney@forthepeople.com                          Telephone: (813) 440-5327
snazario@forthepeople.com                         Fax: (877) 434-0661
mmartinez@forthepeople.com                        awydro@sessions.legal
Counsel for Plaintiff                             dvanhoose@sessions.legal
                                                  Counsel for Defendant
Case 3:19-cv-00094-MMH-JBT Document 13 Filed 04/16/19 Page 2 of 2 PageID 43
